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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION


 UNITED STATES OF AMERICA                        §
                                                 §
                                                 §
 VS.                                             §   CASE NO. 1:09-CR-107(14)
                                                 §
                                                 §
 SHAUN WILLIAM HUNT                              §



          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter was referred to the undersigned United States

 Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

 Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

 felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

 States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

        On June 22, 2010, this cause came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by the defendant, Shaun William Hunt, on Count Fifteen of the


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 charging Second Superseding Indictment filed in this cause. Count Fifteen of the Second

 Superseding Indictment charges that on or about May 30, 2007, the exact date being unknown, in

 the Eastern District of Texas, and elsewhere, Christopher Olmos, Jerry Lee Sandoval, and Shaun

 William Hunt, defendants, together with one or more persons known and unknown to the Grand

 Jury, did knowingly travel in interstate commerce from the State of Florida to the State of Texas,

 with intent to promote, manage, establish, carry on, and to facilitate the promotion, management,

 establishment and carrying on of an unlawful activity, said unlawful activity being the

 conspiracy to distribute and possession with the intent to distribute a Schedule I controlled

 substance, namely marijuana, in violation of 21 U.S.C. §§ 846 and 841, and thereafter did

 perform and attempt to perform acts to promote, manage, establish, and carry on, and to facilitate

 the promotion, management, establishment, and carrying on of said unlawful activity, in

 violation of 18 U.S.C. §§ 1952 and 2.

        Defendant, Shaun William Hunt, entered a plea of guilty to into Count Fifteen of the

 Second Superseding Indictment the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

        a.      That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

        b.      That Defendant and the Government have entered into a plea agreement which



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 was disclosed and addressed in open court, entered into the record, and placed under seal.

        c.      That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

 personally in open court, the Court determines that Defendant plea is voluntary and did not result

 from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).

        d.      That Defendant’s knowing, voluntary and freely made plea is supported by an

 independent factual basis establishing each of the essential elements of the offense and Defendant

 realizes that his conduct falls within the definition of the crimes charged under 18 U.S.C. § 1952.

                                   STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government would prove that Defendant,

 Shaun William Hunt, is one and the same person charged in the Second Superseding Indictment

 and that the events described in the Second Superseding Indictment occurred in the Eastern

 District of Texas and elsewhere. The Government would also have proven, beyond a reasonable

 doubt, each and every essential element of the offense alleged in Count Fifteen of the Second

 Superseding Indictment through the testimony of witnesses, including expert witnesses, and

 admissible exhibits. In support of the Defendant’s plea, the Court incorporates the proffer of

 evidence described in detail in the factual basis and stipulation, filed in support of the plea

 agreement.

        Defendant, Shaun William Hunt, agreed with and stipulated to the evidence presented in



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 the factual basis. Counsel for Defendant and the Government attested to Defendant’s competency

 and capability to enter an informed plea of guilty. The Defendant agreed with the evidence

 presented by the Government and personally testified that he was entering his guilty plea

 knowingly, freely and voluntarily.

                                        RECOMMENDED DISPOSITION

          IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count Fifteen of the charging Second Superseding

 Indictment on file in this criminal proceeding. The Court also recommends that the District

 Court accept the plea agreement.1 Accordingly, it is further recommended that, Defendant, Shaun

 William Hunt, be finally adjudged as guilty of the charged offense under Title 18, United States

 Code, Section 1952.

          Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant that

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            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).


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 the District Court may reject his plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

 presentence report because the sentencing guidelines are advisory in nature. The District Court

 may defer its decision to accept or reject the plea agreement until there has been an opportunity to

 consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea

 agreement, the Court will advise Defendant in open court that it is not bound by the plea

 agreement and Defendant may have the opportunity to withdraw his guilty plea, dependent upon

 the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is rejected

 and Defendant still persists in the guilty plea, the disposition of the case may be less favorable to

 Defendant than that contemplated by the plea agreement. Defendant has the right to allocute

 before the District Court before imposition of sentence.

                                           OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

 (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s

 failure to object bars that party from: (1) entitlement to de novo review by a district judge of

 proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir.

 1988), and (2) appellate review, except on grounds of plain error of unobjected-to factual findings

 and legal conclusions accepted by the district court, see Douglass v. United Servs. Auto. Ass’n.,

 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded by Congress

 and the courts require that, when a party takes advantage of his right to object to a magistrate’s

 findings or recommendation, a district judge must exercise its nondelegable authority by



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 considering the actual evidence and not merely by reviewing and blindly adopting the

 magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir.

 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).




                      SIGNED this the 22nd day of June, 2010.




                                                         ____________________________________
                                                         KEITH F. GIBLIN
                                                         UNITED STATES MAGISTRATE JUDGE




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